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                                                             1   GEOFFREY A. GOODMAN, SBN 073355
                                                                 MURPHY AUSTIN ADAMS SCHOENFELD LLP
                                                             2   304 “S” Street
                                                                 Sacramento, California 95811-6906
                                                             3   Telephone:     (916) 446-2300
                                                                 Facsimile:     (916) 503-4000
                                                             4   Email:         ggoodman@murphyaustin.com
                                                             5   Attorneys for Defendant
                                                                 JOSEPH BREWER
                                                             6

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                                                             8                                    UNITED STATES DISTRICT COURT
                                                             9                                    EASTERN DISTRICT OF CALIFORNIA
                                                            10
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11   UNITED STATES OF AMERICA,                         Case No. 2:06-CR-0505 EJG
                                                            12                       Plaintiff,                    STIPULATION AND ORDER
                                                                                                                   TEMPORARILY MODIFYING TERMS
                                         ATTORNEYS AT LAW




                                                            13           v.                                        AND CONDITIONS OF RELEASE
                                                            14   JOSEPH BREWER,
                                                            15                       Defendant.
                                                            16

                                                            17           Defendant JOSEPH BREWER is in the business of buying and selling used aircraft parts.

                                                            18   He has been in the business for more than 30 years. In connection with his business he travels to

                                                            19   The Netherlands approximately three to four times per year. Through business connections there,

                                                            20   he identifies desirable used aircraft parts and arranges for their purchase and shipment to the

                                                            21   United States.

                                                            22           Mr. Brewer is not in custody and has no travel restrictions. However, as a condition of

                                                            23   release, Mr. Brewer surrendered his passport. In March, 2007, Magistrate Judge Brennan ordered

                                                            24   that Mr. Brewer be permitted to retrieve his passport for the purpose of making a business trip to

                                                            25   the Netherlands between April 15 and May 15, on condition that Mr. Brewer provide his travel

                                                            26   itinerary and that Mr. Brewer surrender his passport upon his return. Mr. Brewer complied with

                                                            27   these conditions.

                                                            28   /////
                                                                                                                 -1-                                    1311.003-446129.2

                                                                 STIP. & [PROPOSED] ORDER TEMPORARILY MODIFYING TERMS AND CONDITIONS 2:06-CR-0505EJG
                                                                       Case 2:06-cr-00505-EJG Document 30 Filed 08/30/07 Page 2 of 3


                                                             1            Mr. Brewer requests that he again be permitted to retrieve his passport for the purpose of
                                                             2   business to travel to The Netherlands between on or about September 28, 2007 through on or
                                                             3   about December 11, 2007, in order to maintain his business obligations. Attached to the
                                                             4   Stipulation is Mr. Brewer’s itinerary and contact information while in the Netherlands. It is
                                                             5   requested that Mr. Brewer be permitted to retrieve his passport from the Court and that he be
                                                             6   permitted to travel to and from the Netherlands and that he re-surrender his passport to the Court
                                                             7   on or before December 21, 2007.
                                                             8            Mr. Brewer has a waiver of appearance on file. Mr. Brewer understands that he would
                                                             9   have to return from the Netherlands before his scheduled date of return if the matter was set for
                                                            10   trial or his appearance was otherwise required before December 11, 2007.
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11            Counsel has discussed this request with Assistant U.S. Attorney Ellen Endrizzi who
                                                            12   voiced no objection to this request.
                                         ATTORNEYS AT LAW




                                                            13            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
                                                            14   counsel, ELLEN ENDRIZZI, Assistant United States Attorney, attorney for plaintiff, and
                                                            15   GEOFFREY A. GOODMAN, attorney for defendant, that the conditions of defendant’s release
                                                            16   be temporarily modified as set forth herein and that Mr. Brewer may retrieve his passport from
                                                            17   the Court, that Mr. Brewer may travel to The Netherlands for business from on or about
                                                            18   September 28, 2007 through on or about December 11, 2007, and that Mr. Brewer is ordered to
                                                            19   re-surrender his passport on or before December 21, 2008. However, should Mr. Brewer’s
                                                            20   ///
                                                            21   ///
                                                            22   ///
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                                                            25   ///
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                                                                  STIP & [PROPOSED] ORDER TEMPORARILY MODIFYING TERMS AND CONDITIONS 2:06-CR-0505EJG
                                                                    Case 2:06-cr-00505-EJG Document 30 Filed 08/30/07 Page 3 of 3


                                                             1   appearance be required before December 22, 2007 for trial, trial confirmation or other necessary
                                                             2   appearance, counsel shall so inform Mr. Brewer and Mr. Brewer agrees he will appear as ordered.
                                                             3   August 30, 2007
                                                                                                                  MURPHY AUSTIN ADAMS SCHOENFELD LLP
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                                                             5
                                                                                                                  By:     /s/ Geoffrey A. Goodman
                                                             6                                                            GEOFFREY A. GOODMAN
                                                                                                                          Attorneys for Defendant
                                                             7                                                            JOSEPH BREWER
                                                             8   August 30, 2007
                                                                                                                  MCGREGOR W. SCOTT
                                                             9                                                    UNITED STATES ATTORNEY
                                                            10
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11                                                    By:     /s/ Ellen Endrizzi
                                                                                                                          ELLEN ENDRIZZI
                                                            12                                                            Assistant U.S. Attorney
                                         ATTORNEYS AT LAW




                                                            13

                                                            14                                                   ORDER
                                                            15           Based on the parties’ stipulation and good cause appearing therefore, the Court hereby
                                                            16   adopts the stipulation of the parties in its entirety as its order.
                                                            17   DATED: August 30, 2007.
                                                            18

                                                            19                                                ______________________________________
                                                                                                              DALE A. DROZD
                                                            20                                                UNITED STATES MAGISTRATE JUDGE
                                                            21

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                                                                 STIP & [PROPOSED] ORDER TEMPORARILY MODIFYING TERMS AND CONDITIONS 2:06-CR-0505EJG
